                                                      United States Bankruptcy Court
                                                             Eastern District of Michigan
 In re    Heritage Collegiate Apparel, Inc. f/k/a M-Den, Inc., d/b/a The M Den                                    Case No.       24-47922
                                                                      Debtor(s)                                   Chapter        11

                                       LIST OF EQUITY SECURITY HOLDERS - AMENDED
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Julie Carol Corrin                                                                25.03%                                     Stock
2126 Agincourt
Ann Arbor, MI 48103

Scott David Hirth                                                                 25.03%                                     Stock
11657 Calkins Rd.
Carleton, MI 48117

SSJ Return Holdings, Inc.                                                         24.91%                                     Stock
5000 Carpenter Rd.
Ypsilanti, MI 48197

Steven Donald Horning                                                             25.03%                                     Stock
48287 Hilltop Dr. E.
Plymouth, MI 48170


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date August 23, 2024                                                     Signature /s/ Scott Hirth
                                                                                        Scott Hirth

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



              24-47922-tjt            Doc 39          Filed 08/23/24              Entered 08/23/24 10:56:28                       Page 1 of 1
